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   IT IS ORDERED as set forth below:



   Date: June 30, 2022
                                                      ________________________________
                                                                  Paul Baisier
                                                          U.S. Bankruptcy Court Judge

  _______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


 IN RE:                                       |       CASE NO. 22-52950-PMB
                                              |
 ATLANTA LIGHT BULBS, INC.,                   |       CHAPTER 11
                                              |
                Debtor.                       |       JUDGE BAISIER

                          ORDER APPROVING APPLICATION
                      OF PROFESSIONAL, SUBJECT TO OBJECTION
        S. Gregory Hays, Chapter 11 Trustee for the bankruptcy estate of the above-captioned

 debtor (the “Trustee”) filed on June 24, 2022 (Docket No. 93) an Application to Employ the Law

 Offices of Henry F. Sewell, Jr., LLC (the “Applicant”) as counsel for the Trustee in this case (the

 “Application”). No hearing is necessary on the Application absent the filing of an objection to

 it. Pursuant to a certificate of service filed with or attached to the Application and a supplement

 thereto, the Application has been served on the United States Trustee as required by Federal Rule

 of Bankruptcy Procedure 2014, and on lenders with an interest in all or substantially all of the
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 Debtor’s assets, any party that has filed a notice of appearance or request for notices in this case

 as of the date of the filing of the Application, and the twenty (20) largest unsecured creditors in

 this case to the extent that they are known in this Case. No further service of the Application is

 necessary.

           The Application and accompanying affidavit of Henry F. Sewell, Jr. demonstrate

 preliminarily that the Applicant is qualified to practice in this Court and disinterested.

 Accordingly, it is hereby

           ORDERED that, pursuant to 11 U.S.C. § 327 and Federal Rule of Bankruptcy Procedure

 2014, the Application is GRANTED, and the Trustee is authorized to employ the Applicant as

 its counsel during the Debtor’s Chapter 11 case, subject to objection as provided for herein; and it

 is further

           ORDERED that compensation may be paid and expenses reimbursed to the Applicant only

 pursuant to an application filed and approved by this Court pursuant to 11 U.S.C. §§ 330, 331 and

 Federal Rule of Bankruptcy Procedure 2016, unless the Court orders otherwise; and it is further

           ORDERED that any party in interest shall have twenty-one (21) days from the service of

 this Order to file an objection to the Application and/or the relief provided in this Order; and it is

 further

           ORDERED that if an objection is timely filed counsel for the Trustee will set the

 Application and all such objections for hearing pursuant to the Court’s Open Calendar

 Procedures; and it is further

           ORDERED that if no objection to this Order is timely filed, this Order shall be a final Order

 approving the Application; and it is further

           ORDERED that counsel for the Trustee shall, within three (3) days of the entry of this Order,
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 cause a copy of this Order to be served by first class mail, postage prepaid,1 on all parties served

 with the Application, and shall file promptly thereafter a certificate of service confirming such

 service.

                                            [END OF DOCUMENT]


 Prepared and presented by:

 LAW OFFICES OF HENRY F. SEWELL JR., LLC

 /s/ Henry F. Sewell, Jr.
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 PROPOSED COUNSELFOR THE TRUSTEE




  1
   First class mail service is not required if the recipient is a registered ECF user who has agreed to waive all other
  service in favor of ECF service pursuant to Bankruptcy Local Rule 5005-8, in which case ECF notification shall
  serve as the required service. The party certifying service should certify ECF service on such recipients.
